Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 1 of 30

                                             SEALED
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

    SECURITIES AND EXCHANGE COMMISSION,

                               Plaintiff,

    V.


    RISHI KAPOOR;
    LOCATION VENTURES, LLC;
    URBIN, LLC;
    PATRIOTS UNITED, LLC;
    LOCATION PROPERTIES, LLC;                              FILED BY DC.
    LOCATION DEVELOPMENT, LLC;
    LOCATION CAPITAL, LLC;
    LOCATION VENTURES RESOURCES, LLC;                            EC 27 2023
    LOCATION EQUITY HOLDINGS, LLC;                                ANGELA E. NOBLE
                                                                 CLERK US. DIST. CT.
    LOCATION GP SPONSOR, LLC;                                    S. D. OF FLA. - MIAMI

    515 VALENCIA SPONSOR, LLC;
    LV MONTANA SPONSOR, LLC;
    URBIN FOUNDERS GROUP, LLC;
    URBIN CG SPONSOR, LLC;
    515 VALENCIA PARTNERS, LLC;
    LV MONTANA PHASE I, LLC;
    STEWART GROVE 1, LLC;
    STEWART GROVE 2, LLC;
    LOCATION ZAMORA PARENT, LLC;
    URBIN CORAL GABLES PARTNERS, LLC;
    URBIN COCONUT GROVE PARTNERS, LLC;
    URBIN MIAMI BEACH PARTNERS, LLC; and
    URBIN MIAMI BEACH II PHASE 1, LLC,

                               Defendants.


                  COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

         Plaintiff Securities and Exchange Commission (the "Commission") alleges:




                                                1
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 2 of 30



                                          I.    INTRODUCTION

           1.      The Commission brings this emergency action against Defendants Rishi Kapoor

   ("Kapoor"), Location Ventures, LLC ("LY"), URBIN, LLC ("URBIN"), and their subsidiaries and

   affiliated companies 1 ( collectively, the "Defendants") for their operation of a real estate investment

   scheme in violation of the anti-fraud provisions of the federal securities laws. From January 2018

   through March 2023 (the "Relevant Period"), Defendants raised approximately $93 million from

   more than 50 investors.

           2.      LV purports to be a real estate company that invests in the development of single-

   family homes, condominiums, and mixed-use properties in South Florida. Kapoor is LV's founder

   and former chief executive officer. URBIN is an affiliate of LV that invests in the development of

   communal live/work concept properties located in, as its name suggests, urban neighborhoods.

           3.      LV and URBIN earn revenue from fees they charge their real estate projects,

   including acquisition, development, management, marketing, and loan guarantor fees. They also

   own a stake in each of their projects, which entitles them and their investors to a percentage of any

   profits made by the projects. Importantly, LV owns 40% of URBIN, resulting in a multi-level

   corporate structure with a percentage of the profits at each level flowing to LV at the top.

          4.      To fund the venture, Defendants offered passive investment opportunities in both

   LV and URBIN, as well as in each of their respective projects. To induce investors, Kapoor and

   his partner claimed they made a $13 million cash investment in LV through Defendant Patriots

   United, LLC ("Patriots United"), a company owned by Kapoor, his partner, and members of




   1
    LV's and URBIN's subsidiaries and affiliated companies are alleged in paragraph 5 of this
   Complaint.

                                                      2
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 3 of 30



   Kapoor's family. At no point during the Relevant Period, however, did Patriots United contribute

   any cash to LV.

           5.     Kapoor attempted to conceal the $13 million deficit within a web of companies,

   subsidiaries, and affiliated entities, which included among others: LV; URBIN; Patriots United;

   Location Properties, LLC ("L. Properties"); Location Development, LLC ("L. Development");

   Location Capital, LLC ("L. Capital"); Location Ventures Resources, LLC ("L. Resources");

   Location Equity Holdings, LLC ("L. Holdings"); Location GP Sponsor, LLC ("L. GP Sponsor");

   515 Valencia Sponsor, LLC (''515 Valencia Sponsor"); LV Montana Sponsor, LLC ("LV Montana

   Sponsor"); URBIN Founders Group, LLC ("URBIN Founders"); URBIN CG Sponsor, LLC

   ("URBIN CG Sponsor"); 515 Valencia Partners, LLC ("515 Valencia"); LV Montana Phase I,

   LLC ("LV Montana"); Stewart Grove 1, LLC ("Stewart Grove I"); Stewart Grove 2, LLC

   ("Stewart Grove 2"); Location Zamora Parent, LLC ("L. Zamora Parent"); URBIN Coral Gables

   Partners, LLC ("URBIN Gables"); URBIN Coconut Grove Partners, LLC ("URBIN Grove");

   URBIN Miami Beach Partners, LLC ("URBIN Miami Beach"); and URBIN Miami Beach II Phase

   1, LLC ("URBIN Miami Beach II") (collectively, "Company Defendants").

          6.      Kapoor's false claims about his investment was just one in a series of material

   misrepresentations and omissions Defendants made to investors. For instance, as part of the

   offering materials provided to prospective investors, Defendants included proforma budgets that

   projected costs for each of the projects, such as interest expense and loan fees, land purchase, and

   acquisition and capital formation costs. Kapoor intentionally understated construction and other

   estimated costs in the proformas to represent higher returns to prospective investors. When actual

   costs for the projects greatly exceeded those forecasted in the proformas, Defendants withheld

   that and other information from investors, directed employees to revise or remove financial data



                                                    3
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 4 of 30



   from reports and meeting minutes, and, in some instances, continued to use the proformas to raise

   additional capital.

           7.      Kapoor also represented to investors that LV, URBIN, and each of the projects were

   separate and distinct investments, possessing their own members, designated capital, and corporate

   identities. Kapoor, however, regularly ignored corporate formalities and commingled investor

   funds with more than $60 million in intercompany transfers occurring during the Relevant Period.

   As just a few examples: $1.6 million of investor funds in the URBIN Grove project were

   transferred to and used by the URBIN Gables project to purchase land. Approximately $4.5 million

   of customer sales deposits paid by purchasers of units in the URBIN Grove and URBIN Miami

   Beach projects were released from escrow and used for purposes unrelated to the construction of

   those projects. And approximately $14 million was transferred from LV to URBIN and recorded

   internally as an intercompany loan without member or board approval.

           8.      As Defendants shuffled investor funds among the various companies and accounts,

   Kapoor and other insiders misappropriated at least $6 million of investor funds-$4.3 million of

   which Kapoor misappropriated for himself. During the same period, Kapoor purchased a 2023

   68.7-foot yacht for over $5 million, a dock at the Cocoplum Yacht Club for $695,000, leased a

   2020 600LT Spider McLaren sportscar, and paid a private chef$10,000 per month.

           9.      In or around July 2023, a majority of LV's members removed Kapoor as manager

   and CEO of LV but not before Kapoor transferred more than $19 millionand nearly all of LV's

   remaining cash-to LV's largest investor, who demanded to be bought out after learning that

   Kapoor was misappropriating and misusing investor funds. Kapoor later resigned as the manger

   ofURBIN.




                                                    4
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 5 of 30



           10.    Without sufficient funds, LV's and URBIN's projects have stalled, been

   abandoned, or are the subject of litigation. In August 2023, LV's members formally replaced

   Kapoor with a retired judge to wind down LV and to liquidate certain LV projects. URBIN

   currently is being managed by LV's chief development officer.

           11.    By engaging in the conduct alleged in this Complaint, Kapoor, LV, and URBIN

   violated Section 17(a)(2) of the Securities Act of 1933 ("Securities Act") [15 U.S.C. § 77q(a)(2)],

   and Section l0(b) of the Securities Exchange Act of 1934 ("Exchange Aet") [15 U.S.C. § 78j(b)],

   and Exchange Act Rule 10b-5(b) [7 C.F.R. $ 240.10b-5(b)]. Kapoor and the Company Defendants

   violated Section 17(a)(l) and (3) of the Securities Act [15 U.S.C. § 77q(a)(l) and (3)], and Section

   l0(b) of the Exchange Act and Exchange Act Rules 10b-5(a) and (c) [17 C.F.R. § 240.10b-5(a)

   and (c)]. Kapoor also, directly and indirectly, violated Exchange Act Section l0(b) and Rule 10b-

   5 thereunder as a control person of the Company Defendants under Section 20(a) of the Exchange

   Act [15 U.S.C. $ 78t(a)].

          12.     Among other relief, the Commission seeks permanent injunctions, disgorgement of

   ill-gotten gains with prejudgment interest,2 and civil monetary penalties against the Defendants.

   The Commission also seeks an order against Kapoor imposing an officer and director bar. To

   protect investors and preserve investor assets, the Commission also seeks emergency relief,

   including asset freezes, the appointment of a Receiver, an order prohibiting the destruction of

   documents, and sworn accountings.




   2
     The Commission's request for disgorgement is limited currently to: Kapoor, LV, URBIN,
   Patriots United, L. Capital, L. Development, L. Properties, L. Ventures, 515 Valencia, LV
   Montana, Stewart Grove 1, Stewart Grove 2, Zamora Parent, URBIN Grove, URBIN Gables,
   URBIN Miami Beach, and URBIN Miami Beach II.

                                                    5
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 6 of 30




                                         II.   DEFENDANTS

          13.     Kapoor is a resident of Coral Gables, Florida. From January 2016 until a majority

   of LV's members removed him in July 2023, Kapoor served as the CEO and manager of LV. From

   May 2018 until he resigned in August 2023, Kapoor was the Managing Partner and manager of

   URBIN through URBIN Founders. Kapoor owns a 47.917% membership interest in LV through

   Patriots United' and a 7.14% membership interest in URBIN through Kapoor Capital, LLC

   ("Kapoor Capital").4 Kapoor has business degrees in finance, marketing, and management, and a

   law degree but has never been a licensed attorney. At all times material to the Complaint, Kapoor

   managed and controlled the Company Defendants.

          14.     LV is a Florida limited liability company formed in January 2016 with its principal

   place of business in Coral Gables, Florida. Kapoor managed and controlled LV until he was

   removed as manager by a majority of LV's members in July 2023. Kapoor and others formed LV

   for the purpose of investing in and developing real estate. LV is owned by certain investors in LV

   and Patriots United, a Florida limited liability company partly owned and controlled by Kapoor.

          15.     URBIN is a Florida limited liability company formed in May 2018 with its

   principal place of business in Coral Gables, Florida. LV owns approximately 40% of URBIN.

   Kapoor managed and controlled URBIN through LV and URBIN Founders until he resigned in

   August 2023 and was replaced by LV's chief development officer. URBIN is an affiliate of LV

   that Kapoor and others formed for the purpose of investing in and developing real estate.




   3
     Patriots United is owned by Kapoor, his partner, and Kapoor Capital, which is owned by Kapoor
   and two of his family members.
   4
     Kapoor Capital is owned by Kapoor and two of his family members.
                                                   6
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 7 of 30



           16.       Patriots United is a Florida limited liability company formed in September 2017

   with its principal place of business in Coral Gables, Florida. Patriots United is partly owned and

   controlled by Kapoor. Patriots United owns a 47.917% membership interest in LV based on a

   purported $13 million cash capital contribution by Kapoor, his partner, and two members of

   Kapoor's family. As detailed in the Complaint, Patriots United never made a cash capital

   contribution to LV.

           17.       L. Properties is a Florida limited liability company formed in January 2016 with

   its principal place of business in Coral Gables, Florida. L. Properties is a wholly owned subsidiary

   of LV through which LV operates. L. Properties is described on LV's website as a full-service real

   estate sales and marketing team.

           18.       L. Development is a Florida limited liability company formed in February 2016

   with its principal place of business in Coral Gables, Florida. L. Development is a wholly owned

   subsidiary of LV through which LV operates. L. Development is described on LV's website as a

   company focused on developing architecturally significant living experiences in key markets in

    South Florida.

           19.       L. Capital is a Florida limited liability company formed in January 2016 with its

   principal place of business in Coral Gables, Florida. L. Capital is a wholly owned subsidiary of

    LV through which LV operates. LV's website describes L. Capital as a private real estate

   investment and asset management division that raises capital to invest in premium locations and

   premier developers.

           20.       L. Resources is a Florida limited liability company formed in September 2019 with

   its principal place of business in Coral Gables, Florida. L. Resources is a wholly owned subsidiary

   of LV through which LV operates and purportedly provides human resource services to LV.



                                                     7
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 8 of 30



              21.   L. Holdings is a Florida limited liability company formed in April 2020 with its

   principal place of business in Coral Gables, Florida. L. Holdings is a wholly owned subsidiary of

   LV through which LV operates and purportedly holds LV's projects. L. Properties, L.

   Development, L. Capital, L. Resources, and L. Holdings, collectively, shall be referred to as the

   "Operational Entities."

              22.   L. GP Sponsor is a Florida limited liability company formed in February 2020

   with its principal place of business in Coral Gables, Florida. L. GP Sponsor is a wholly owned

   subsidiary of LV through which LV owns the sponsor entities formed to own an interest in and

   manage LV's projects.

              23.   515 Valencia Sponsor is a Florida limited liability company formed in February

   2018 with its principal place ofbusiness in Coral Gables, Florida. 515 Valencia Sponsor is a wholly

   owned subsidiary ofL. GP Sponsor. 515 Valencia Sponsor is the manager of the 515 Valencia

   project.

              24.   LV Montana Sponsor is a Florida limited liability company formed in August

   2022 with its principal place of business in Coral Gables, Florida. LV Montana Sponsor is a wholly

   owned subsidiary of L. GP Sponsor. LV Montana Sponsor is the manager of the LV Montana

   project.

              25.   URBIN Founders is a Florida limited liability company formed in May 2018 with

   its principal place of business in Coral Gables, Florida. URBIN Founders is an affiliate of LV and

   the manager ofURBIN.

              26.   URBIN CG Sponsor is a Florida limited liability company formed in May 2018

   with its principal place of business in Coral Gables, Florida. URBIN CG Sponsor is an affiliate of

   URBIN and the manager of the URBIN Gables project. L. GP Sponsor, 515 Valencia Sponsor, LV



                                                    8
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 9 of 30



   Montana Sponsor, URBIN Founders, and URBIN CG Sponsor, collectively, are referred to as the

   "Manager Entities."

          27.     515 Valencia is a Florida limited liability company formed in February 2018 with

   its principal place of business in Miami, Florida. 515 Valencia is managed by 515 Valencia

   Sponsor. 515 Valencia is an affiliate of LV that Kapoor and others formed for the purpose of

   owning and developing real property located in Coral Gables, Florida.

          28.     LV Montana is a Florida limited liability company formed in August 2022 with its

   principal place of business in Coral Gables, Florida. LV Montana is managed by LV Montana

   Sponsor. LV Montana is an affiliate of LV that Kapoor and others formed for the purpose of

   owning and developing real property located in Columbia Falls, Montana.

          29.     Stewart Grove 1 is a Florida limited liability company that was formed in March

   2016 with its principal place of business in Coral Gables, Florida. Stewart Grove 1 is a wholly

   owned subsidiary of L. Holdings that Kapoor and others formed for the purpose of owning and

   developing real property located in Miami, Florida.

          30.     Stewart Grove 2 is a Florida limited liability company that was formed in March

   2016 with its principal place of business in Coral Gables, Florida. Stewart Grove 2 is a wholly

   owned subsidiary of L. Holdings that Kapoor and others formed for the purpose of owning and

   developing real property located in Miami, Florida.

          31.     L. Zamora Parent is a Florida limited liability company formed in April 2023 with

   its principal place of business in Coral Gables, Florida. L. Zamora Parent is a wholly owned

   subsidiary of L. Holdings that Kapoor and others formed for the purpose of owning and developing

   real property located in Miami, Florida.




                                                   9
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 10 of 30



           32.     URBIN Gables is a Florida limited liability company formed in May 2018 with its

    principal place of business in Coral Gables, Florida. URBIN CG Sponsor is the manager ofURBIN

    Gables. URBIN Gables is an affiliate ofURBIN that Kapoor and others formed for the purpose of

    owning and developing real property located in Coral Gables, Florida.

           33.     URBIN Grove is a Florida limited liability company formed in August 2018 with

    its principal place of business in Coral Gables, Florida. URBIN is the manager of URBIN Grove.

    URBIN Grove is an affiliate of URBIN that Kapoor and others formed for the purpose of owning

    and developing real property located in Miami, Florida.

           34.      URBIN Miami Beach was a Florida limited liability company formed in October

    2019 with its principal place of business in Coral Gables, Florida, which was converted to a

    Delaware limited liability company in July 2022. URBIN Miami Beach is managed by URBIN.

    URBIN Miami Beach is an affiliate of URBIN that Kapoor and others formed for the purpose of

    owning and developing real property located in Miami Beach, Florida.

           35.      URBIN Miami Beach II is a Florida limited liability company formed in August

    2022 with its principal place of business in Coral Gables, Florida. URBIN Miami Beach II is

    managed by URBIN. URBIN Miami Beach II is an affiliate of URBIN that Kapoor and others

    formed for the purpose of owning and developing real property located in Miami Beach, Florida.

    515 Valencia, LV Montana, Stewart Grove 1, Stewart Grove 2, L. Zamora Parent, URBIN Gables,

    URBIN Grove, URBIN Miami Beach, and URBIN Miami Beach II, collectively, are referred to

    as the "Project Entities."




                                                   10
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 11 of 30



                                   III. JURISDICTION AND VENUE

            36.    This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d), and

    22(a) of the Securities Act [15 U.S.C. $$ 771(0), 77t(d), and 77v(a)]; and Sections 21(d), 21(e),

    and 27(a) of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e) and 78aa(a)].

            37.    This Court has personal jurisdiction over the Defendants and venue is proper in the

    Southern District of Florida because: (a) Kapoor resides in the District; (b) the principal place of

    business of each of the Company Defendants is in the District; and (c) a substantial part of the

    events or omissions giving rise to the violations of the Securities Act and the Exchange Act

    occurred in the District.

            38.    In connection with the conduct alleged in the Complaint, Defendants, directly and

    indirectly, singly or in concert with others, made use of the means or instrumentalities of interstate

    commerce, the means or instruments of transportation or communication in interstate commerce,

    and of the mails.

                                    IV.   FACTUAL ALLEGATIONS

           A.      The Real Estate Investment Scheme

           39.     LV is a real estate development and investment company that Kapoor and others

    formed in January 2016 to develop new luxury single-family homes, multi-family redevelopment

    projects, and boutique condominiums.

           40.     In May 2018, Kapoor and others formed URBIN, an affiliate of LV, to develop

    communal live/work properties in Miami Beach, Coral Gables, and Miami's Coconut Grove

    neighborhood, with plans to expand into Fort Lauderdale and cities nationwide.




                                                      11
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 12 of 30



              41.     LV and URBIN essentially are two distinct brands. LV fits squarely in South

    Florida's luxury real estate market, while URBIN targets young professionals desiring to live and

    work in city centers and urban neighborhoods.

              42.     From approximately January 2018 until at least March 2023, Defendants offered

    investors passive real estate investments opportunities in LV, URBIN, and their respective

    portfolios of real estate projects.

              43.     Prospective investors could invest at the "company level" by purchasing

    membership units in LV and/or URBIN, which earn revenue from fees they charge their real estate

    projects, including acquisition, development, management, marketing, and loan guarantor fees. In

    addition to earning fees, LV and URBIN own an interest in each of their projects, such that an

    investment in LV or URBIN is an indirect investment in their respective projects.

              44.     Prospective investors also could invest at the "project level" by purchasing

    membership units directly in the companies created to own the projects,5 which would pay

    investors upon the completion or sale of the projects, assuming they were profitable.

              45.     LV owns 40% of URBIN, placing investors in LV at the top of a multi-level

    corporate structure with a percentage of the profits at each level flowing to the top, as shown in

    LV's organization chart on the following page.




    5
        This includes, but is not limited to, the Project Entities.

                                                         12
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 13 of 30



               Figure 1- Location Ventures' Organizational Chart


                                                                Location Ventures, LLC



                           Location            Location                                       Location                                     Location
       Location                                                      Location GP                                     Location                               location Equity
                         Development,        Construction,                                   Ventures                                    Acquisitions,
      Capital, LLC                                                   Sponsor, LLC                                 Properties, LLC                            Holdings LLC
                              LLC                LLC                                       Resources, LLC                                    LLC

                                                                                                                          ¢

                                                                                                     Location Ventures        Location Ventures
     URBIN Founder       515 Valencia       WELLS Redlands           LVMontana                       Management, LLC            Marketing, LLC
         Unrts           Sponsor, LLC        Sponsor, LLC            Sponsor, LLC




       800 Dixie          1505 Ponce          LV 3ayshore            619 Breakers
      Manager, LLC       Sponsor, LLC         Sponsor, LLC           Partners, LLC




                                            1505 Ponce              551 Bayshore           619 Breakers SPE,         Stewart Grove 1,        Stewart Grove 2,     8325 Cheryl Lane,
                     URBIN, LLC
                                           Partners, LLC            Partners, LC                  LLC                      LLC                     LLC                  LLC




                                             BOO Dixie               515 Valencia          Redlands Phase I,             LV Montana          location Zamora
                                           Partners, LLC             Partners, LLC               LLC                     Phase L, LLC           Parent, LLC




             URBIN Miami          URBIN Coconut              URBIN Coral                                     URBIN Miami
                                                                                      URBIN FT
            Beach Partners,       Grove Partners,          Gables Partners,                                 Beach II Phase I,.
                                                                                     Partners, LLC
                 LLC                   LLC                       LLC                                              LLC




               46.            Kapoor used each of the Company Defendants in the scheme to defraud investors,

    including: the Operational Entities through which Kapoor operated the scheme and funneled

    investor funds; the Manager Entities through which Kapoor managed and controlled the companies

    and projects used in the scheme; and the Project Entities through which Kapoor raised money from

    investors, and misappropriated and misused investor funds.

               47.            From at least January 2018 to March 2023, Defendants raised at least $93 million

    from more than 50 external investors.

               48.            At all times material to the Complaint, Kapoor had the power to control the general

    affairs of the Company Defendants and had the requisite power to directly or indirectly control or

    influence the specific company policy which resulted in the Company Defendants' violations of



                                                                                           13
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 14 of 30



    the anti-fraud provisions of the federal securities laws. Through the Manager Entities, Kapoor had

    control over the Company Defendants, their respective bank accounts and finances, and all key

    aspects of their business operations.

           49.     The membership units Defendants sold to investors constitute investment contracts

    and are, therefore, securities under SEC v. W.I. Howey Co., 328 U.S. 293, 298-99 (1946). With

    respect to these investments, there was (a) an investment of money; (b) in a common enterprise;

    (c) based on the expectation of profits to be derived from the entrepreneurial or managerial efforts

    of others. See SEC v. Friendly Power Co., LLC, 49 F. Supp. 2d 1363, 1368 (S.D. Fla. 1999).

           8.      Defendants' Material Misrepresentations, Omissions, and
                   Misuse of Investor Funds

           50.     Defendants solicited investors through in-person and virtual investor presentations,

    as well as by telephone, email, and through LV's website. Investors were provided with materials

    that typically included an offering memorandum with information regarding the projects, a sponsor

    resume with information regarding LV, as well as the operating agreements and proforma budgets

    for their preferred investment. The operating agreements and budgets not only contained the terms

    upon which prospective investors agreed to invest but made a series of representations regarding

    capitalization, expenses, corporate governance, use of investor funds, among many others.

                     (i)    Patriot United's $13 Million Cash Capital Contribution

           51.     To induce prospective investors to invest, Kapoor represented that he made an

    initial $13 million cash investment in LV through Patriots United, an entity owned by Kapoor,

    Kapoor's business partner, and two of Kapoor's family members.

           52.     By contributing his own capital, Kapoor not only gained the confidence of

    prospective investors, many of whom are high-wealth individuals, but received a 47.917%

    membership interest in LV and, combined with the interest held by other insiders, effective control

                                                     14
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 15 of 30



    over the company. LV then used the capital it raised, including Patriots United's purported $13

    million, to purchase membership units in LV's projects and in URBIN.

           53.     Despite Kapoor's representations to investors, Patriots United never contributed

    any cash to LV. Defendants attempted to conceal the $13 million deficit within a web of

    companies, subsidiaries, and affiliates that grew to at least 36 companies and 15 real estate projects

    at various stages of acquisition and development. See Figure 1 - Location Ventures'

    Organizational Chart on page 13.

                            (ii)    Pro Forma Budgets & Spending Controls

           54.     Central to the scheme were the pro forma budgets Defendants provided to

    prospective investors, which estimated the costs to acquire, construct, manage, and sell the

    projects, as well as estimated investor returns.

           55.     Kapoor intentionally understated construction and other estimated costs used in the

    proformas to represent higher returns to prospective investors. When actual costs for the projects

    greatly exceeded those forecasted in the pro formas, Defendants withheld that and other

    information from investors, directed employees to revise or remove financial data from reports

    and meeting minutes, and, in some instances, continued to use the proformas to raise additional

    capital. In the words of one LV company officer, "the budgets were a fiction."

           56.     For example, certain LV board members instructed Kapoor not to use investor

    funds to engage in projects outside of Florida unless returns for those projects exceeded those of

    existing projects in South Florida. Kapoor used investor funds toward the acquisition of property

    in Colombia Falls, Montana, referred to herein as LV Montana. Kapoor directed the president of

    LV's Single Family Division to modify the estimated costs in the LV Montana's proforma budget

    to ensure the estimated returns were as high as those in South Florida.



                                                       15
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 16 of 30



           57.     As another example, LV's budget set limits to employee salaries. Kapoor's annual

    salary was capped at $350,000, which could increase to no more than $400,000 with board

    approval. In 2021, Kapoor paid himself $629,600 as compensation. In 2022, Kapoor paid himself

    $1,686,303 as compensation. The budget also capped LV's chief development officer's annual

    salary at $350,000, but she received $363,333 as compensation in 2020, $534,999 in 2021, and

    $743,333 in 2022. None of these payments was approved by LV's board.

           58.     In addition to the budgets, the operating agreements Defendants provided to

    prospective investors included express controls on how investor funds could be used. For example,

    increases to LV's annual budget greater than 7.5% required board approval. Increases greater than

     10% to URBIN Miami Beach's annual budget required approval by a majority of its members.

           59.     Defendants, however, failed to seek board approval when LV's budgets for 2021

    increased by 68%. And upon receiving updated cost estimates for the URBIN Miami Beach and

    551 Bayshore projects exceeding 110% of their approved budgets, Kapoor caused construction to

    begin on those projects without obtaining member approval, despite knowing the costs were

    substantially greater than what investors relied upon when electing to invest.

                                (iii)   Commingling ofInvestor Funds

           60.     Defendants also represented to investors that LV, URBIN, and each oftheir projects

    were separate and distinct entities, with their own members, budgets, and corresponding capital,

    and that investor funds would be used solely for their intended project or projects. Defendants,

    however, regularly commingled investor funds among the various Company Defendants and other

    entities, with more than $60 million of intercompany transfers during the Relevant Period.

           61.     For instance, LV received approximately $14. 7 million from the URBIN entities,

    and the URBIN entities received $25.2 million from the LV entities, including a $14 million



                                                    16
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 17 of 30



    transfer from LV to URBIN that was recorded internally as an intercompany loan (the

    "Intercompany Loan") without notice to, or approval from, LV's members or board of directors.

           62.       Also, it was not uncommon for Kapoor to use investor funds from one project to

    pay for the expenses of another. For example, on January 3, 2022, URBIN Grove received $4.2

    million from Investor 14, 6 and on January 4, 2022, S1 million from Investor 49. The balance in:

    URBIN Grove's bank account prior to receiving these funds was $68,000. Between January 4,

    2022, and January 6, 2022, URBIN Grove transferred $1,847,000 to URBIN, of which URBIN

    transferred $1.69 million to URBIN Gables, which URBIN Gables used to purchase the "Minorca

    Parking Lots." URBIN Gables recorded the purchase of the parking lots as a land asset on its

    balance sheet.

            63.      Defendants' complete disregard for corporate formalities included the use of

    approximately $4.5 million of customer sales deposits--deposits made by customers toward the

    purchase of condominium units-for purposes other than the construction and development of that

    condominium project.

            64.      For instance, on October 31, 2022, URBIN Grove received approximately $1.2

    million in customer sales deposits from its escrow company.7 A few days later, URBIN Grove

    transferred $1 million to URBIN, which URBIN used to pay down the Intercompany Loan.

            65.      Customer sales deposits in URBIN Grove and URBIN Miami Beach were

    systematically transferred away from the projects and used for any number of purposes, including,

    but not limited to:


    6
      The names of investors have been replaced with numbers to protect their identities. A key
    associating the assigned numbers with investors names will be provided to the Court in camera
    upon request.
    7
      The combined balance in URBIN Grove's bank accounts prior to receiving these funds was
    $452,347.

                                                    17
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 18 of 30



                      a.      $220,000 from URBIN Grove to Kapoor, personally, for purported "loan

                   guarantor fees";

                      b.       $556,000 from URBIN Miami Beach to a title company for an investment

                   called "Pipeline Montana";

                      c.      $300,000 from URBIN Miami Beach toward the "Minorca Parking Lots"

                   purchase; and

                      d.      $1million from URBIN Miami Beach to L. Capital, after which L. Capital

                   made a series of disbursements that were unrelated to URBIN Miami Beach.

                                   (iv)   Kapoor's Background and Experience

             66.      Kapoor also made material misrepresentations and omissions concerning his

    background and experience that made certain statements on LV's website and in offering materials

    either false or materially misleading.

             67.      As of January 4, 2023,8 LV's website included a biography page touting the

    experience and expertise of its officers, directors, and other key employees. Kapoor's biography

    stated, among other things, that "[t]o date, Rishi is responsible for leading the development of a

    $400M portfolio including high-end, custom single-family homes; rehabilitation of multi-family

    properties; development of boutique condominiums ..."

             68.      The size of Kapoor' s portfolio increased from $400 million to $1 billion according

    to a 2020 version of LV's sponsor resume, similar to a brochure, that LV, Kapoor, and others

    regularly provided to prospective investors and that included information about LV, its projects

    and investment opportunities, and its team of professionals.




    8
        Date of website capture ofLV's website https://location.ventures/.
                                                       18
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 19 of 30



             69.    Kapoor's portfolio increased again in the 2022 version9 of the sponsor resume-

    this time to $4 billion.

             70.    Kapoor's representation that he was responsible for leading the development of a

    $4 billion portfolio was false. Indeed, that he was responsible for a S1 billion portfolio is, if not

    false, materially misleading.

             71.    In addition to inflating his portfolio, Kapoor' s biography highlighted his business

    degrees in finance, management, and marketing, and described his day-to-day role as centering

    "around identifying unique opportunities, capital formation and setting the product vision for our

    projects while working closely with the development team on proper execution." Kapoor failed to

    disclose, however, that his previous marketing business incurred federal tax liens for failing to

    remit federal payroll taxes-a practice that continued at LV, where he failed to remit

    approximately $1.3 75 million in federal payroll taxes despite deducting those amounts from

    employee compensation.

             C.     Defendants' Misappropriation of Investor Funds

             72.    Kapoor added to LV and URBIN's financial woes by misappropriating· at least $6

    million from the Company Defendants, at least $4.3 million of which went to Kapoor alone.

             73.    As previously alleged, Kapoor's approved annual salary was $350,000. Kapoor

    paid himself $629,600 in 2021 and $1,686,303 in 2022, which collectively represented

    approximately $1.6 million in excess compensation. The source of these funds was derived largely

    from the sale of the project 800 Dixie Partners, LLC ("800 Dixie"). LV was an investor in 800

    Dixie and was entitled to a distribution of any profits."" Rather than paying the proceeds from the



    9
        While dated for the year 2022, the Sponsor Resume was created in February 2023.
    I All project level investors in 800 Dixie were paid upon the sale and received a return of capital
    and profit distribution.
                                                     19
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 20 of 30



    sale to LV, on August 15, 2022, Kapoor took the entirety of the proceeds, along with additional

    funds belonging to LV, and paid himself $1,328,000.11 LV recorded the payment to Kapoor in its

    books as compensation.

           74.     Further, LV and URBIN were entitled to fees from the development of their

    respective projects. Rather than pay LV and URBIN, which would then determine whether

    distributions to their members were appropriate, in many instances Kapoor paid these fees directly

    to himself and others. Also, the amount of fees LV and URBIN charged the projects exceeded the

    amounts authorized in their respective operating agreements. In total, Kapoor paid himself and

    others close to S1 million in fees belonging to LV and URBIN.

           75.     In addition to the above transactions, there were two significant transfers in 2021.

    L. Capital is a wholly owned subsidiary of LV that was used by Kapoor and others to raise capital.

    L. Capital's bank accounts were used to hold investor capital as well as in the operation of the

    business. On August 3, 2021, Kapoor transferred $1.5 million from L. Capital's bank account

    directly to his personal bank account for no apparent legitimate purpose. Also in 2021, Kapoor and

    his partner, through Patriots United, received a distribution in the amount of $1,247,931 in

    connection with the sale of the Leucadendra Drive project. Patriots United received this

    distribution despite never having made its initial $13 million cash capital contribution.

           76.     During the same period as these transfers, Kapoor purchased a new 2023 68.7-foot

    Princess Y72 yacht for over $5 million, a dock at the Cocoplum Yacht Club for $695,000, leased

    a 2020 600LT Spider McLaren sportscar, and paid a private chef $10,000 per month.




    ' Kapoor represented to investors that the sale of 800 Dixie resulted in a profit. Based on
    accounting records, however, the sale of 800 Dixie resulted in a net loss to LV of approximately
    $411,087.
                                                     20
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 21 of 30




            D.        Defendants Buy Out Major Investor

            77.       Sometime in 2022, a major investor in LV and three of its projects, referred to

    herein as "Investor 20," became concerned regarding the management of LV and its projects,

    including Kapoor's misappropriation and misuse of investor funds, and demanded Defendants buy

    out the entirety of its interest. In December 2022, Defendants paid Investor 2012 $3 million to

    purchase its interest in the LV project Redlands Phase 1, LLC ("Redlands"). The source of these

    funds was a combination of Investor 30's capital contribution in LV and funds belonging to the

    URBIN Grove project and its members.

            78.       Shortly after the Redlands buyout, Investor 20, LV, and Kapoor, along with certain

    other related parties, entered into a Global Interest Purchase Agreement (the "Buyout

    Agreement"), dated December 31, 2022. The Buyout Agreement required LV to purchase Investor

    20's interest in LV and the two remaining projects for approximately $41 million, to be paid in

    installments over a five-month period. The first installment required a payment of $2 million and

    was due on January 13, 2023. To meet this installment payment, Defendants received $2.5 million

    from Investor 46 on January 13, 2023, and immediately transferred $2 million of those funds to

    Investor 20.

             79.      Defendants made the following payments under the Buyout Agreement:

                   a. January 13, 2023, payment of $2 million;

                   b. January 31, 2023, payment of $2,378,630;

                   c. February 15, 2023, payment of $2.5 million;

                   d. February 28, 2023, payment of $2.5 million; and



    ?   The payment was made to Investor 80, which is owned by or related to Investor 20.
                                                      21
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 22 of 30



                  e. March 13, 2023, payment of $5 million.

            80.      In addition to the above-scheduled payments, Defendants paid Investor 20 a

    $500,000 extension fee, and a partial payment in the amount of $1.5 million under the Buyout

    Agreement for a total of $16,378,630. Together with Defendants' payment to Investor 20 related

    to the Redlands project, the total amount paid to Investor 20 and its related entities was

    $19,378,630.

            81.      After making these payments to Investor 20 under the Buyout Agreement, LV's

    funds were exhausted.

            82.      On or around July 14, 2023, the members of LV entered into a resolution by written

    consent that removed Kapoor as manager of LV. According to the resolution, the members

    determined that:




            83.      In or around August 2023, Kapoor resigned as manager of URBIN.

            84.      Without sufficient cash, LV's and URBIN's projects have stalled, been abandoned,

    or are the subject of litigation.

            85.      On August 30, 2023, LV's members formally replaced Kapoor as manager of LV

    with a retired judge, with instructions to wind down and sell substantially all the assets of LV and

    its projects.



                                                     22
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 23 of 30



           86.     LV's former chief development officer replaced Kapoor as the manager of URBIN.

    URBIN has not been included as part of LV's liquidation plan.

                                       V.    CLAIMS FOR RELIEF

                                                 COUNTI

                           Violations of Section 17(a)(l) of the Securities Act
                                        (Against All Defendants)

           87.     The Commission repeats and realleges Paragraphs 1 through 86 of this Complaint.

           88.     From approximately January 2018 until at least March 2023, Defendants, in the

    offer or sale of securities by use of the means or instruments of transportation or communication

    in interstate commerce or by use of the mails, directly or indirectly, knowingly or recklessly

    employed devices, schemes or artifices to defraud.

           89.     By reason of the foregoing, Defendants, directly or indirectly, have violated and

    unless enjoined, are reasonably likely to continue to violate, Section 17(a)(l) of the Securities Act

    [15 U.S.C. § 77q(a)(l)].

                                                COUNT II

                           Violations of Section 17(a)(2) of the Securities Act
                                   (Against Kapoor, LV, and URBIN)

           90.     The Commission repeats and realleges Paragraphs 1 through 86 of this Complaint.

           91.     From approximately January 2018 until at least March 2023, Kapoor, LV, and

    URBIN, in the offer or sale of securities by use of the means or instruments of transportation or

    communication in interstate commerce or by use of the mails, directly or indirectly, negligently

    obtained money or property by means of untrue statements of material facts or omissions to state

    material facts necessary to make the statements made, in light of the circumstances under which

    they were made, not misleading.



                                                     23
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 24 of 30



           92.     By reason of the foregoing, Kapoor, LV, and URBIN, directly and indirectly, have

    violated and unless enjoined, are reasonably likely to continue to violate, Section l 7(a)(2) of the

    Securities Act [15 U.S.C. § 77q(a)(2)].

                                                COUNT III

                           Violations of Section 17(a)(3) of the Securities Act
                                        (Against All Defendants)

           93.     The Commission repeats and realleges Paragraphs 1 through 86 of this Complaint.

           94.     From approximately January 2018 until at least March 2023, the Defendants, in the

    offer or sale of securities by use of the means or instruments of transportation or communication

    in interstate commerce or by use of the mails, directly or indirectly, negligently engaged in

    transactions, practices and courses of business which have operated, are now operating or will

    operate as a fraud or deceit upon the purchasers.

           95.     By reason of the foregoing, the Defendants, directly and indirectly, have violated

    and unless enjoined, are reasonably likely to continue to violate, Section l 7(a)(3) of the Securities

    Act [15 U.S.C. § 77q(a)(3)].

                                                COUNT IV

                  Violations of Section lO(b) of the Exchange Act and Rule 10b-5(a)
                                       (Against All Defendants)

           96.     The Commission repeats and realleges Paragraphs 1 through 86 of this Complaint.

           97.     From approximately January 2018 until at least March 2023, the Defendants,

    directly or indirectly, by use of the means and instrumentalities of interstate commerce, or of the

    mails, knowingly or recklessly employed devices, schemes or artifices to defraud in connection

    with the purchase or sale of securities.




                                                     24
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 25 of 30



           98.      By reason of the foregoing, the Defendants, directly and indirectly, have violated

    and unless enjoined, are reasonably likely to continue to violate, Section 1 0(b) of the Exchange

    Act [15 U.S.C. § 78j(b)] and Rule 10b-5(a) [17 C.F.R. § 240.10b-5(a)] thereunder.

                                                COUNT V

                   Violations of Section lO(b) of the Exchange Act and Rule 10b-5(b)
                                   (Against Kapoor, LV, and URBIN)

           99.      The Commission repeats and realleges Paragraphs 1 through 86 of this Complaint.

            100.    From approximately January 2018 until at least March 2023, Kapoor, LV, and

    URBIN, directly or indirectly, by use of the means and instrumentalities of interstate commerce,

    or of the mails, in connection with the purchase or sale of securities, knowingly or recklessly made

    untrue statements of material facts or omitted to state material facts necessary in order to make the

    statements made, in light of the circumstances under which they were made, not misleading.

            101.    By reason of the foregoing, Kapoor, LV, and URBIN, directly and indirectly,

    violated and unless enjoined, are reasonably likely to continue to violate, Section 1 0(b) of the

    Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5(b) [17 C.F.R. § 240.10b-5(b)] thereunder.

                                                COUNT VI

                   Violations of Section lO(b) of the Exchange Act and Rule 1b-5(c)
                                        (Against All Defendants)

            102.    The Commission repeats and realleges Paragraphs 1 through 86 of this Complaint.

            103.    From approximately January 2018 until at least March 2023, the Defendants,

    directly or indirectly, by use of the means and instrumentalities of interstate commerce, or of the

    mails, in connection with the purchase or sale of securities, knowingly or recklessly engaged in

    acts, practices and courses of business which have operated, are now operating, and will operate

    as a fraud upon the purchasers of such securities.



                                                     25
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 26 of 30



           104.    By reason of the foregoing, the Defendants, directly and indirectly, violated and,

    unless enjoined, are reasonably likely to continue to violate, Section 1 0(b) of the Exchange Act

    [15 U.S.C. § 78j(b)] and Rule 10b-5(c) [17 C.F.R. § 240.10b-5(c)] thereunder.

                                              COUNT VII

             Violations of Section 2Q(a) of the Exchange Act-Control Person Liability
                                          (Against Kapoor)

           105.    The Commission repeats and realleges Paragraphs 1 through 86 and Paragraphs 96

    through 104 of this Complaint.

           106.    From at least January 2016 through August 2023, Kapoor was, directly or

    indirectly, a control person of LV, URBIN, and/or each of the Company Defendants for purposes

    of Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)].

           107.    From approximately January 2018 through March 2023, LV and URBIN violated

    Section 1 0(b) and Rule 1 0b-5 of the Exchange Act.

           108.    As a control person of LV and URBIN, Kapoor is jointly and severally liable with

    and to the same extent as LV and URBIN for each of their respective violations of Section 1 0(b)

    and Rule l0b-5 of the Exchange Act.

           109.    From approximately January 2018 through March 2023, the Company Defendants

    violated Section l0(b) and Rule 10b-5(a) and (c) of the Exchange Act.

           110.    As a control person of each of the Company Defendants, Kapoor is jointly and

    severally liable with and to the same extent as the Company Defendants for each of their respective

    violations of Section l0(b) and Rule 10b-5(a) and (c) of the Exchange Act.

           111.    By reason of the foregoing, Kapoor has violated and, unless enjoined, is reasonably

    likely to continue to violate Sections 1 0(b) and 20(a), and Rule 1 0b-5 of the Exchange Act [ 15

    U.S.C. § 78j(b) and§ 78t(a), and 17 C.F.R. § 240. lOb-5].

                                                    26
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 27 of 30



                                       VI.   RELIEF REQUESTED

           WHEREFORE, the Commission respectfully requests the Court find the Defendants

    committed the violations alleged, and:

                                          A. Permanent_Injunction

            Issue Permanent Injunctions enjoining LV, URBIN, and Kapoor, and their officers, agents,

    servants, employees, attorneys, and all persons in active concert or participation with them and

    each of them, from violating Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)], and

    Section lO(b) of the Exchange Act and Exchange Act Rule 10b-5(b) [17 C.F.R. § 240.10b-5(b)];

    and Kapoor and the Company Defendants, and their officers, agents, servants, employees,

    attorneys, and all persons in active concert or participation with them and each of them, from

    violating Section 17(a)(l) and (3) ofthe Securities Act [15 U.S.C. § 77q(a)(l) and (3)], and Section

    l0(b) of the Exchange Act and Exchange Act Rules 10b-5(a) and (c) [17 C.F.R. § 240.10b-5(a)

    and (c)]; and further enjoining Kapoor from violating Section 20(a) of the Exchange Act [15 U.S.C.

    § 78t(a)].

                                B. Disgorgementand_Prejudgment_Interest

            Issue an order directing Kapoor, LV, URBIN, Patriots United, L. Capital, L. Development,

    L. Properties, L. Ventures, 515 Valencia, LV Montana, Stewart Grove 1, Stewart Grove 2, Zamora

    Parent, URBIN Grove, URBIN Gables, URBIN Miami Beach, URBIN Miami Beach II, and their

    officers, agents, servants, employees, attorneys, and all persons in active concert or participation

    with them, and each of them, to disgorge all ill-gotten gains received within the applicable statute

    of limitations, including prejudgment interest, resulting from the acts or courses of conduct alleged

    in this Complaint.




                                                     27
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 28 of 30



                                  C. Asset Freeze and Sworn Accountings

            Issue an order freezing the assets of the Defendants and requiring Defendants to file sworn

    accountings with the Court.

                                       D. Appointment of a Receiver

            Appoint a receiver over the Company Defendants.

                                          E. Records Preservation

            Issue an Order requmng all Defendants, their officers, agents, servants, employees,

    attorneys, and all persons in active concert or participation with them, and each ofthem, to preserve

    any records related to the subject matter of this lawsuit that are in their possession, custody, or

    subject to their control.

                                        F. Civil Monetary Penalties

            Issue an Order directing Defendants to pay civil money penalties pursuant to Section 20(d)

    of the Securities Act [15 U.S.C. § 77t(d)] and Section 2l(d) of the Exchange Act [15 U.S.C. §

    78u(d)].

                                G. Officer and Director Bar Against Kapoor

            Issue an Order pursuant to Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)] and

    Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)], permanently prohibiting Kapoor

    from acting as an officer or director of any issuer whose securities are registered with the

    Commission pursuant to Section 12 of the Exchange Act or which is required to file reports with

    the Commission pursuant to Section 15(d) of the Exchange Act.

                                              H. Further Relief

            Grant such other and further relief as may be necessary and appropriate.




                                                     28
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 29 of 30



                                           I.   Retention of Jurisdiction

               Further, the Commission respectfully requests the Court retain jurisdiction over this action

    and over Defendants in order to implement and carry out the terms of all orders that may hereby

    be entered, or to entertain any suitable application or motion by the Commission for additional

    relief within the jurisdiction of this Court.

                                      VII. DEMAND FOR JURY TRIAL

               The Commission hereby demands a trial by jury on any and all issues in this action so

    triable.

               Dated: December 27, 2023              Respectfully submitted,




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                                                         29
Case 1:23-cv-24903-JB Document 14-1 Entered on FLSD Docket 01/03/2024 Page 30 of 30



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                                         30
